810 F.2d 270
    258 U.S.App.D.C. 151
    NATURAL RESOURCES DEFENSE COUNCIL, INC.v.ENVIRONMENTAL PROTECTION AGENCY, et al.
    No. 85-1150.
    United States Court of Appeals,District of Columbia Circuit.
    Jan. 28, 1987.
    
      Before WALD, Chief Judge, and ROBINSON, MIKVA, EDWARDS, GINSBURG, BORK, STARR, SILBERMAN, BUCKLEY, WILLIAMS and GINSBURG, Circuit Judges.
      Prior Report: 804 F.2d 710.
      ORDER
      PER CURIAM.
    
    
      1
      Petitioner's suggestion for rehearing en banc was circulated to the full Court.  The taking of a vote thereon was requested.  A majority of the judges of the Court in regular active service have voted in favor of the suggestion.  Accordingly, it is
    
    
      2
      ORDERED, by the Court en banc, that this matter will be reheard by the Court sitting en banc, and it is
    
    
      3
      FURTHER ORDERED, by the Court en banc, that the opinion and judgment of November 4, 1986 be, and the same hereby are, vacated.
    
    
      4
      A future order will govern further proceedings.
    
    